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MAYOR’S
MANAGEMENT
REPORT
September 2022

The City of New York
Mayor Eric L. Adams
Lorraine Grillo
First Deputy Mayor
Daniel Steinberg, Director
Mayor’s Office of Operations
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DEPARTMENT OF
CORRECTION Louis A. Molina, Commissioner
WHAT WE DO                                     FOCUS ON EQUITY
The Department of Correction (DOC)             The Department is committed to building jails that serve the public interest and
is dedicated to creating a safe and            foster the public’s trust. DOC believes that everyone benefits when people in the
supportive environment while providing         Department’s custody are given the tools they need to have less contact with the
individuals in our care with a path to         justice system in the future. With these goals in mind, DOC is focused on creating
successfully re-enter their communities.       a culture of accountability and service to persons experiencing incarceration that
Those in the Department’s custody
                                               will ultimately lead to safer and more humane jails. To support these efforts and
include individuals 18 years of age and
older who are awaiting trial, who have         improve the quality of services within the jails, DOC is focused on increasing
been convicted and sentenced to less           accountability, restoring and supporting best correctional practices, enhancing
than one year of incarceration, and            support for staff, increasing programming and educational opportunities, and
persons held on state parole warrants.         leveraging data to modernize and improve our operations.
Pursuant to New York’s Raise the Age
law, 16- and 17-year-olds were removed         While the Department does not determine who comes into custody or how long
from Rikers Island prior to October 1st,       an individual stays in a jail facility, DOC works hard to make sure that individuals
2018. The Department operates seven            in custody are provided with resources that support a safer environment in the jails
facilities housing people in custody, six of   and successful re-entry into the community upon release. DOC offers a range of
which are located on Rikers Island. The        programming and services to meet an individual’s unique needs and challenges,
Department also operates court holding         including credible messengers, faith-based services, vocational training, access to
facilities in each of the five boroughs and    education, mental health treatment and substances abuse services. Individuals in
one hospital prison ward. In Fiscal 2022,      need of a higher level of support, such as the young adult population and those in
the Department processed 17,803                restrictive housing settings, are offered enhanced, targeted programming designed
admissions and managed a combined              to support meaningful behavioral change and more constructive responses to
daily population (ADP) of approximately
                                               violent conflict. DOC also recognizes that staff are a vital resource and frontline
5,600 individuals.
                                               leaders in the agency’s reform efforts, and must be adequately supported. The
Guided by correctional best practice           Department is focused on improving staff wellness and increasing organizational
and collaboration with criminal                health by investing in technology, training, and mentorship opportunities to
justice stakeholders, the Department           ensure staff have the tools they need to succeed in their work.
continues to implement substantive
reforms. With the goal of improving            As improvements and reforms progress, DOC is intent on increasing transparency
safety for staff and individuals in DOC        and ensuring that policy and operational decisions are data-driven and measurable.
custody, the Department is focused             The Department is developing a dedicated team to manage, track, and evaluate
on increasing staff accountability;            programs and operations, with the goal of sharing outcomes with local, national,
improving staffing ratios; modernizing         and global stakeholders. As DOC continues to move towards the borough-based
operations; improving data tracking            jail system, DOC is working to repair outdated equipment and fixtures, and
and transparency; developing holistic          implement innovative solutions to challenges that have been decades in the
approaches to behavior management;
                                               making and were exacerbated due to the pandemic.
and enhancing programs and services
for those in custody to reduce idleness
and promote skills development.




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OUR SERVICES AND GOALS
SERVICE 1 Provide a safe and secure environment for individuals in custody, staff and host communities.
    Goal 1a Ensure the security and safety of individuals in DOC custody.
    Goal 1b Ensure that use of force is authorized and appropriate.
    Goal 1c Provide individuals in custody with timely access to health services.
    Goal 1d Maximize bed capacity and address cell maintenance and repairs in a timely manner.
    Goal 1e Ensure timely transport of individuals in custody to courts throughout the City.

SERVICE 2 Prepare individuals in custody for return to their neighborhoods as civil and contributing
              members.
    Goal 2a Prepare as many individuals in custody as possible for successful release through participation in skills-building
            programs including educational opportunities, jobs training, behavioral interventions and mental health
            services.
    Goal 2b Reduce idleness by increasing participation of individuals in custody in mandated and other programs, services
            and activities.

SERVICE 3 Provide correction-related services and information to the public.
    Goal 3a Provide timely notifications to crime victims.




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HOW WE PERFORMED IN FISCAL 2022
SERVICE 1          Provide a safe and secure environment for individuals in custody, staff and host
                   communities.
Goal 1a            Ensure the security and safety of individuals in DOC custody.
Due to changes in broader criminal justice policies, the City
jail population has changed over the years and become more                                    Violent Incidents Among
                                                                                               Individuals in Custody
challenging to manage. The incarcerated population has steadily                             (Monthly Rate per 1,000 ADP)
risen despite an initial decrease at the start of the COVID-19
pandemic, far surpassing population projections made prior to the                                                98.1
                                                                           100
pandemic. The average daily population increased by 12 percent
between Fiscal 2021 and 2022. New admissions increased by                                                                   87
10 percent during this reporting period and backlog in the court                                        80.1
                                                                            80
system resulting from the pandemic has caused many individuals to
linger in DOC custody for substantially longer than they otherwise                            68.9
would have. Average length of stay has increased from 87 days
in Fiscal 2021 to 120 days in Fiscal 2022, and nearly 30 percent            60     55.9
of the population has been in custody for more than a year, with
some having been in custody for three years or more. Data shows
that the longer one remains in custody, the likelihood increases            40
that they will be involved in a violent incident. Also on average,
approximately 66 percent of individuals held in the Department’s
custody throughout the reporting period were awaiting trial for a           20
violent felony offense, and nearly 19 percent of those in custody
are affiliated with a security risk group (SRG), or gang. These
factors contribute to a population that is larger than anticipated,
                                                                            0
spending longer in custody than in the past, and more prone to                     FY 18      FY 19     FY 20    FY 21     FY 22
serious acts of violence and disruptive behavior while in custody.
In Fiscal 2022, the challenge of managing the population was
exacerbated in by staffing shortages that impacted operations
throughout the Department.                                                          Individual(s) in Custody Population
                                                                                            and Length of Stay
While violent incidents among individuals in custody decreased by
11 percent and fight/assault infractions decreased by 18 percent                                                            120
between Fiscal 2021 and 2022, serious injury to individuals in
custody as a result of violent incidents among individuals in
custody increased by 45 percent during this time period. Slashings
and stabbings saw an increase of nearly 99 percent since last fiscal                           75
                                                                                                         90       87
year, which increased the number of serious injuries. As part of                   8,896
DOC’s focus on increased accountability for both staff and people                             7,938
in custody, jail-based arrests of individuals in custody increased by               66
61 percent between Fiscal 2021 and 2022, with a large increase                                          5,841
seen in the latter half of Fiscal 2022.                                                                                    5,559
                                                                                                                 4,921

Since January 2022, DOC began implementing a holistic
and multi-pronged approach to violence reduction, based in
correctional best-practice. In February 2022, a violence reduction
plan was piloted at the Robert N. Davoren Center (RNDC), which
predominantly houses young adults, to address heightened                           FY 18      FY 19    FY 20     FY 21     FY 22
levels of violence at that facility. The plan outlined changes to
misguided housing polices, improvements to staff supervision and                         Average Daily Inmate Population
                                                                                           Length of Stay Days




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accountability, enhanced programming and services, and an increase in facility searches and tactical search operations
(TSOs). Due to the successful reduction in key violence indicators observed at RNDC as a result of the pilot, DOC will be
implementing this strategy at other facilities across the Department.

In Calendar 2022, the Department has been intensely focused on contraband weapon recovery as a means of preventing
serious injury to staff and people in custody. Despite an overall decrease in searches by 17 percent between Fiscal 2021 and
2022, DOC has observed a 133 percent increase in contraband weapons recovered. This was due in part due to a modest
return of staff who were out sick in the second half of Fiscal 2022, which allowed for an increase in TSOs, a type of search
that focuses on contraband recovery within the facilities. As the Department continues to implement violence reduction
measures across the facilities, an initial increase in some violence indicators is anticipated as part of a natural response to
change in some long-standing policies and practices. Regardless, the Department is committed to moving forward with
these and other critical violence reduction strategies, to ensure the safety and security of those that live and work in city
jail facilities.
                                                                                                Actual                                  Target                   Trend
                                                                                                                                                                     Desired
Performance Indicators                                                    FY18       FY19       FY20        FY21        FY22     FY22            FY23   5-Year      Direction
® Admissions                                                             49,455     39,420      23,317     16,179      17,803     *               *     Down              *
® Average daily population                                                8,896      7,938      5,841       4,961       5,559     *               *     Down             Down
Individuals in custody in Security Risk Group (% ADP)                    15.4%      16.4%       18.5%      22.6%       18.9%      *               *       Up             Down
Fight/assault infractions                                                12,047     12,008      11,191     11,214       9,248     *               *     Down             Down
Jail-based arrests of individuals in custody                              742        490         258        145         234       *               *     Down             Down
Searches                                                                 308,063   328,750     282,048     268,579     223,310    *               *     Down              *
Weapons recovered                                                         3,676     2,882       2,439       2,159       5,022     *               *       Up              *
« Violent incidents among individuals in custody (monthly rate
per 1,000 ADP)                                                            55.9       68.9        80.1       98.1        87.0      ò               ò       Up             Down
« Serious injury to individuals in custody as a result of violent
incidents among individuals in custody (monthly rate per 1,000
ADP)                                                                       2.0        2.5        9.6        13.0        18.9      ò               ò       Up             Down
« Assault on staff by individual in custody (monthly rate per
1,000 ADP)                                                                 9.2       12.5        15.8       19.6        15.8      ò               ò       Up             Down
« Serious injury to staff as a result of assault on staff by individu-
al in custody (monthly rate per 1,000 ADP)                                0.42       0.49        0.65       0.52        0.45      ò               ò     Neutral          Down
« Escapes                                                                  1           1          2          1           3        ò               ò       Up             Down
« Non-natural deaths of individuals in custody                             1           2          0          5           8        ò               ò       Up             Down
Stabbings and Slashings                                                    96        106         123        247         491       *               *       Up             Down
« Critical Indicator        ® Equity Indicator          “NA” Not Available         ñò Directional Target      * None




Goal 1b                     Ensure that use of force is authorized and appropriate.
The population that remains in DOC custody presents a significant challenge to our staff. As part of the violence reduction
plan, the Department is intensely focused providing members of service with the training and supervision they need to
consistently apply use of force in line with DOC policy and correctional best-practices. While DOC’s rates of use of force
incidents with no injuries and minor injuries decreased by 15 percent and 31 percent, respectively, DOC’s rates of use of
force incidents with serious injury increased by 22 percent. Notwithstanding this increase, the Department continues its
efforts to reduce unnecessary use of force and the situations that may give rise to a use of force. Each use of force incident
is closely reviewed to identify any incident when force was misused and impose discipline appropriately.




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                                                                                           Actual                                 Target                    Trend
                                                                                                                                                                 Desired
Performance Indicators                                              FY18        FY19        FY20      FY21       FY22      FY22            FY23    5-Year       Direction
Incidents of use of force - total                                   5,175       6,670      6,806      7,506      7,080       *              *        Up             Down
« Department use of force incidents with serious injury (rate per
1,000 ADP)                                                           1.52        1.56       2.63       5.31      6.50        ò              ò        Up             Down
Department use of force incidents with minor injury (rate per
1,000 ADP)                                                          17.43       19.51       17.79     17.51      12.06       *              *      Down             Down
Department use of force incidents with no injury (rate per 1,000
ADP)                                                                29.57       49.03       77.95     102.29     87.23       *              *        Up             Down
Incidents and allegations of use of force                           5,589       7,064       7,047     7,743      7,302       *              *        Up             Down
« Critical Indicator         ® Equity Indicator     “NA” Not Available        ñò Directional Target     * None




Goal 1c                     Provide individuals in custody with timely access to health services.
Between Fiscal 2021 and 2022, “Individual in custody health clinic visits”, which consists of the number of health clinic
visits made as a result of calls to the Health Triage Line, decreased by roughly 14 percentage points. However, other health
clinic visits for mental health, medication management, dental, follow-up visits, etc. have increased, which has increased
the average clinic waiting time by 57%. NYC Health + Hospitals/Correctional Health Services (CHS) provides medical and
mental health services for individuals in DOC custody. CHS determines whether an individual requires a scheduled medical
encounter and schedules an appointment for the individual. Individuals may be scheduled for a medical encounter at the
facility’s clinics, elsewhere on Rikers Island, or off-island for any number of reasons, including but not limited to a call to
the Health Triage Line, urgent medical need, follow-up, mental health, on-island/off-island dental, specialized discharge
planning, and medication distribution. The Department works in close collaboration with CHS to produce as many individuals
as possible to the clinic on a given day, while taking into account any separation orders or other safety concerns, as well as
the size and capacity of the clinics. Although the Department aims to produce as many individuals to the clinic as possible,
staffing shortages contributed to an increase in overall non-production numbers during Fiscal 2022.
                                                                                            Actual                                 Target                    Trend
                                                                                                                                                                 Desired
Performance Indicators                                               FY18        FY19       FY20       FY21      FY22       FY22            FY23    5-Year      Direction
Individuals in custody with a mental health diagnosis (% ADP)        43%         45%         46%       53%       50%         *               *       Up               *
Individuals in custody with a serious mental health diagnosis (%
ADP)                                                                14.3%       16.8%       14.8%     16.5%      16.2%       *               *     Neutral            *
Individual in custody health clinic visits                          76,856      81,405      52,146    16,884     14,600      *               *      Down              *
« – Average clinic waiting time (minutes)                                21       18          17         7         11        ò               ò      Down             Down
« Critical Indicator         ® Equity Indicator     “NA” Not Available        ñò Directional Target     * None




Goal 1d                     Maximize bed capacity and address cell maintenance and repairs in a timely manner.
The jail population as a percent of capacity increased from 65 percent to 75 percent in Fiscal 2022. This increase is likely
attributable in part to the backlog in the court system, causing individuals to remain in DOC custody for additional time.
Additionally, the Department closed facilities in Fiscal 2022 to move forward with construction plans for the borough-based
jail system, resulting in consolidation of housing areas.
                                                                                           Actual                                 Target                    Trend
                                                                                                                                                                 Desired
Performance Indicators                                              FY18        FY19        FY20      FY21       FY22      FY22            FY23    5-Year       Direction
Jail-cells unavailable (short-term repair) (%)                      3.7%        3.7%        4.3%      3.7%       4.3%      1.0%            1.0%      Up             Down
« Population as percent of capacity (%)                             77%         72%         63%       65%        75%        96%            96%     Neutral            *
« Critical Indicator         ® Equity Indicator     “NA” Not Available        ñò Directional Target     * None




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Goal 1e                   Ensure timely transport of individuals in custody to courts throughout the City.
As a result of COVID-19 prevention measures and staffing shortages, many services and operations were suspended or
modified during periods of Fiscal 2022. The number of on-trial individuals in custody produced to court on time declined
by 16 percentage points in Fiscal 2022. To support an increased need for remote court appearances and access to counsel,
the Department added conference booths throughout facilities and reconfigured all of its devices to be compatible with
the Office of Court Administration’s software.
                                                                                          Actual                                Target                    Trend
                                                                                                                                                               Desired
Performance Indicators                                               FY18       FY19       FY20      FY21        FY22    FY22            FY23    5-Year       Direction
® On-trial individuals in custody delivered to court on-time (%)     97.7%     97.2%      96.7%      94.6%      79.1%    95.0%           95.0%   Down             Up
« Critical Indicator       ® Equity Indicator        “NA” Not Available      ñò Directional Target     * None




SERVICE 2                 Prepare individuals in custody for return to their neighborhoods as civil and contributing
                          members.
Goal 2a                   Prepare as many individuals in custody as possible for successful release through participation in skills-
                          building programs including educational opportunities, jobs training, behavioral interventions and mental
                          health services.
In addition to discharge planning, the Department understands the critical importance of job readiness in the reentry
process. Although many in-person programs and services were paused due to various waves of the COVID-19 pandemic,
DOC has worked throughout the pandemic to provide services in a safe, modified manner so that people in custody feel
productively occupied, supported and able to focus on their future. As we have shifted to a new phase of the pandemic,
program providers have returned to the facilities to provide in-person and congregate services.
                                                                                          Actual                                Target                    Trend
                                                                                                                                                              Desired
Performance Indicators                                               FY18      FY19       FY20       FY21       FY22     FY22            FY23    5-Year      Direction
Targeted approach to jail services - Number of Sessions               NA        NA         NA        NA         11,913    *               *       NA              Up
« Targeted approach to jail services - Number of Participants         NA        NA         NA        NA         6,526     ñ               ñ       NA              Up
« Critical Indicator       ® Equity Indicator        “NA” Not Available      ñò Directional Target     * None




Goal 2b                   Reduce idleness by increasing individual in custody participation in mandated and other programs,
                          services and activities.
Flooding our facilities with meaningful, targeted programming and educational services decreases idleness and, in turn,
reduces violence. Our passionate workforce of programming staff, external contract providers, and uniform staff are
committed to transforming our facilities into learning environments for the benefit of people in our custodial care. Due
to the COVID-19 pandemic, many program providers that offered group-based programming, discharge planning, and
post-release assistance suspended their in-person services. During Fiscal 2022, many providers continued to support people
in custody by providing self-guided materials, establishing discharge planning hotlines, and supporting people after their
release to the community. In the summer of 2021, DOC resumed in-person programming, allowing a gradual return over
the course of Fiscal 2022 to offer a wide range of in-person programs and services.

Notably, in the second half of Fiscal 2022, the Department made changes to policies that would allow more credible
messengers into the facilities to engage with young people in custody and interrupt violence and gang issues. As we move
towards modern facilities with the borough-based jail plan, the Department is focused on modernizing the way programs
and services are delivered. In Fiscal 2022, DOC expanded the use of tablets for all people in custody and continues to
explore ways to expand tablet functions and capabilities.




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                                                                                             Actual                                 Target                    Trend
                                                                                                                                                                  Desired
Performance Indicators                                                 FY18       FY19       FY20       FY21       FY22      FY22            FY23    5-Year      Direction
Average daily number of individuals in custody in counseling
programs and services                                                  NA          NA         NA        NA          272        *              *       NA              Up
Average daily number of individuals in custody in education
programs                                                               NA          NA         NA        NA          27         *              *       NA              Up
Average daily number of individuals in custody in external pro-
vider programs and services                                            NA          NA         NA        NA          72         *              *       NA              Up
Average daily number of individuals in custody in fine arts pro-
grams and activities                                                   NA          NA         NA        NA          27         *              *       NA              Up
Average daily number of individuals in custody in the PAWS
programs                                                               NA          NA         NA        NA          24         *              *       NA              Up
Average daily number of individuals in custody in recreation
programs                                                               NA          NA         NA        NA          133        *              *       NA              Up
Average daily number of individuals in custody in workforce
development programs                                                   NA          NA         NA        NA          46         *              *       NA              Up
Average daily attendance in school programs                            169         77          60        11         32         *              *      Down              *
« Individuals in custody participating in programs, services and
activities (%)                                                        23.8%        NA         NA        NA         7.2%      10.0%       10.0%        NA              Up
« Critical Indicator       ® Equity Indicator         “NA” Not Available        ñò Directional Target     * None




SERVICE 3                 Provide correction-related services and information to the public.
Goal 3a                   Provide timely notifications to crime victims.
The New York City Victim Identification Notification Everyday (VINE) system was created to give crime victims easy access to
important custody information about whether a particular incarcerated individual is still incarcerated. Data is not available
for the New York City Victim Identification Notification Everyday (VINE) system past October 2021.
                                                                                              Actual                                 Target                   Trend
                                                                                                                                                                   Desired
Performance Indicators                                                 FY18        FY19       FY20      FY21        FY22      FY22            FY23   5-Year       Direction
Victim Identification Notification Everyday (VINE) system registra-
tions                                                                  22,668     23,728     18,843     16,113      4,998      *               *      Down             Up
VINE confirmed notifications                                           32,856     43,092     29,484     26,303     12,504      *               *      Down             Up
« Critical Indicator       ® Equity Indicator         “NA” Not Available        ñò Directional Target     * None




AGENCY-WIDE MANAGEMENT
                                                                                             Actual                                 Target                    Trend
                                                                                                                                                                   Desired
Performance Indicators                                                 FY18       FY19        FY20      FY21       FY22      FY22            FY23    5-Year       Direction
Workplace injuries reported                                            3,491      4,291      4,301      3,911      2,207       *               *     Down             Down
Accidents involving individuals in custody                              36          27         241      270         283        *               *       Up             Down
« Critical Indicator       ® Equity Indicator         “NA” Not Available        ñò Directional Target     * None




AGENCY CUSTOMER SERVICE
Performance Indicators                                                                       Actual                                 Target                    Trend
                                                                                                                                                                  Desired
Customer Experience                                                    FY18       FY19       FY20       FY21       FY22      FY22            FY23    5-Year      Direction
Letters responded to in 14 days (%)                                   100.0%     100.0%     100.0%      0.0%       91.7%       *              *      Down             Up
E-mails responded to in 14 days (%)                                   100.0%     100.0%     100.0%      0.0%       72.8%       *              *      Down             Up
« Critical Indicator       ® Equity Indicator         “NA” Not Available        ñò Directional Target     * None




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AGENCY RESOURCES
                                                                                             Actual¹                                                 Plan²
Resource Indicators                                             FY18           FY19           FY20           FY21              FY22         FY22              FY23      5yr Trend
Expenditures ($000,000)³                                      $1,400.2       $1,374.5        $1,287.2      $1,259.3        $1,416.3       $1,336.2           $1,275.4    Neutral
Revenues ($000,000)                                             $21.3          $19.9          $12.6          $11.4             $11.8       $11.5              $15.3      Down
Personnel (uniformed)                                          10,653         10,189          9,237          8,388             7068        7,460              7,060      Down
Personnel (civilian)                                           1,886           1,857          1,803          1,661             1,559       2,035              2,042      Down
Overtime paid ($000,000)                                       $221.7         $180.1         $146.6         $153.2             $227.7      $139.7            $132.7      Neutral
Capital commitments ($000,000)                                 $34.4           $57.9          $42.2          $62.0             $499.1      $821.9            $1,137.9      NA
¹Actual financial amounts for the current fiscal year are not yet final. Final fiscal year actuals, from the Comptroller’s Comprehensive Annual Financial Report, will be reported
in the next PMMR. Refer to the “Indicator Definitions” at nyc.gov/mmr for details.             ²Authorized Budget Level       ³Expenditures include all funds     “NA” - Not Avail-
able       * None




SPENDING AND BUDGET INFORMATION
Where possible, the relationship between an agency’s goals and its expenditures and planned resources, by budgetary unit
of appropriation (UA), is shown in the ‘Applicable MMR Goals’ column. Each relationship is not necessarily exhaustive or
exclusive. Any one goal may be connected to multiple UAs, and any UA may be connected to multiple goals.
                                                                              Expenditures                      Modified Budget
                                                                                  FY21¹                              FY22²
Unit of Appropriation                                                          ($000,000)                         ($000,000)                       Applicable MMR Goals³
Personal Services - Total                                                       $1,091.9                              $1,181.1
     001 - Administration                                                        $109.7                               $160.1                                    All
     002 - Operations                                                            $982.2                              $1,020.9                                   All
Other Than Personal Services - Total                                             $167.4                               $235.2
     003 - Operations                                                            $150.6                               $217.3                                    All
     004 - Administration                                                         $16.8                                $17.9                                    All
Agency Total                                                                    $1,259.3                             $1,416.3
¹Comprehensive Annual Financial Report (CAFR) for the Fiscal Year ended June 30, 2021. Includes all funds. ²City of New York Adopted Budget for Fiscal 2022, as of June
2022. Includes all funds. ³Refer to agency goals listed at front of chapter. “NA” Not Available * None




NOTEWORTHY CHANGES, ADDITIONS OR DELETIONS !
• Louis A. Molina was appointed Commissioner on 12/16/2021 and assumed leadership of the agency 1/1/2022.

• Data is not available for the New York City Victim Identification Notification Everyday (VINE) system past October 2021.

• The definition of the ‘Non-natural deaths of individuals in custody’ indicator has been updated to clarify that DOC does
  not determine cause or manner of death; cause of death can only be reported once the NYC Office of the Chief Medical
  Examiner has issued a final report with a determination.

• The indicator definition for ‘Individual in custody health clinic visits’ has been updated to clarify that data includes
  the number of individuals in custody who visited a health clinic as a result of an appointment scheduled through the
  Correctional Health Services Health Triage Line.

• The number of non-natural deaths in Fiscal 2021 has been revised from two to five. These revisions reflect the
  determinations of cause or manner of death that were made by the Office of the Chief Medical Examiner after
  publication of the Mayor’s Management Report for Fiscal Year 2021.


ADDITIONAL RESOURCES
For additional information go to:
• The Social Indicators and Equity Report, EquityNYC: http://equity.nyc.gov/
For more information on the agency, please visit: www.nyc.gov/doc.

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